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 5
 6
                      IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                              EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,   )                 CASE NO. 1:07-CR-316 LJO
                                 )
11        Plaintiff,             )
                                 )                 ORDER EXCUSING
12       v.                      )                 PERSONAL PRESENCE
                                 )                 OF DEFENDANT
13   LYNN TRUONG,                )
                                 )
14               Defendant.      )
     ____________________________)
15
              It is hereby ordered that defendant Lynn Truong be excused from personal
16
     presence at the hearing for status conference calendared for November 4, 2011.
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              Ms. Truong is ordered to appear at all future hearing dates unless excused
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     by written order of this Court.
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20
     IT IS SO ORDERED.
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     Dated:     October 17, 2011              /s/ Lawrence J. O'Neill
22   b9ed48                               UNITED STATES DISTRICT JUDGE
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